     Case 2:17-cv-00140-SMJ         ECF No. 26   filed 08/31/17      PageID.551 Page 1 of 20




1
     CARL J. ORESKOVICH, WSBA #12779
2    ETTER, McMAHON, LAMBERSON
3    VAN WERT & ORESKOVICH, P.C.
4    618 West Riverside Avenue, Suite 210
5    Spokane, WA 99201
6    (509)747-9100
7    (509)623-1439 Fax
8
     Email: carl@ettermcmahon.com
9
     Attorney for Defendants Zaycon Foods, LLC; Frank and Jane Doe
10   Maresca; Michael and Jane Doe Giunta; Mike and Jane Doe Conrad; and
11   Adam and Jane Doe Kremin
12
13                     UNITED STATES DISTRICT COURT
14                    EASTERN DISTRICT OF WASHINGTON
15
16
     THE CINCINNATI INSURANCE
     COMPANY, an Ohio corporation; and                 No. 2:17-cv-0140-SMJ
17
     THE CINCINNATI INDEMNITY
18
     COMPANY, an Ohio corporation,                     ZAYCON DEFENDANTS’
19                                                     RESPONSE TO MOTION
20                               Plaintiffs,           FOR SUMMARY JUDGMENT
21       vs.                                           AND MOTION FOR FED. R.
22                                                     CIV. P. 56(d) CONTINUANCE
23   ZAYCON FOODS, LLC, a Washington
24   Limited Liability Company; FRANK
     MARESCA and JANE DOE MARESCA,
25
     husband and wife; MICHAEL GIUNTA
26
     and JANE DOE GIUNTA, husband and
27   wife; MIKE CONRAD and JANE DOE
28   CONRAD, husband and wife; ADAM
29   KREMIN and JANE DOE KREMIN,
30   husband and wife; and RICHARD
31   BRADDOCK, an individual,
32
                         Defendants.



       Response to Motion for Summary Judgment       ETTER, MCMAHON, LAMBERSON,
       and Motion for Fed. R. Civ. P. 56(d)          VAN WERT & ORESKOVICH, P.C.
       Continuance - Page 1                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                        SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26   filed 08/31/17      PageID.552 Page 2 of 20




1
         COMES NOW Defendants ZAYCON FOODS, LLC, a Washington
2
3    Limited Liability Company; FRANK MARESCA and JANE DOE MARESCA,
4
5    husband and wife; MICHAEL GIUNTA and JANE DOE GIUNTA, husband
6
7    and wife; MIKE CONRAD and JANE DOE CONRAD, husband and wife; and
8
     ADAM KREMIN and JANE DOE KREMIN, husband and wife (hereinafter the
9
10   “Zaycon Defendants”) and hereby moves this Court for a continuance of the
11
12   time to respond to Plaintiffs’ Motion for Summary Judgment and continuance
13
14   of the associated hearing date pursuant to Fed. R. Civ. P. 56(d).
15
16
                                  FACTUAL BACKGROUND
17
         Plaintiffs Cincinnati Insurance Company and Cincinnati Indemnity
18
19   Company (“Cincinnati”) filed a Complaint for Declaratory Relief on April 13,
20
21   2017, seeking a declaration that they have no duty to defend, indemnify or pay
22
23   sums to or on behalf of any defendant with respect to the underlying lawsuit,
24
     Braddock v. Zaycon Foods, LLC, et al., U.S. District Court for the Eastern
25
26
     District of Washington, Case No. 16-cv-01756 TSZ (the “Underlying Suit”).
27
28   (ECF No. 1.) The Defendants in this Declaratory Action are all of the parties to
29
30   the Underlying Suit. (See ECF No. 1, Ex. A.) Notably, although Richard
31
32   Braddock has been named in this Declaratory Action, he has not been served




       Response to Motion for Summary Judgment       ETTER, MCMAHON, LAMBERSON,
       and Motion for Fed. R. Civ. P. 56(d)          VAN WERT & ORESKOVICH, P.C.
       Continuance - Page 2                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                        SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26   filed 08/31/17      PageID.553 Page 3 of 20




1
     with the Complaint nor made an appearance in this case. He has also not been
2
3    served with Cincinnati’s Motion for Summary Judgment. (See ECF No. 16 at
4
5    22.)
6
7           Cincinnati now brings this Motion for Summary Judgment, asserting that
8
     the Underlying Suit does not allege any claims that could conceivably fall
9
10   within any of the coverages provided in the Cincinnati insurance policies issued
11
12   to Zaycon (“Policies”).          (ECF No. 16 at 2.) Cincinnati argues that the
13
14   Underlying Suit does not allege “bodily injury,” “property damage” caused by
15
16
     an “occurrence,” or “personal and advertising injury” as defined by the Policies.
17
     (Id.) Thus, Cincinnati claims coverage should not be afforded. (Id.)
18
19          The Zaycon Defendants assert that coverage should be afforded, that Mr.
20
21   Braddock is a necessary and indispensable party to this action, and that
22
23   summary judgment is premature as Mr. Braddock has neither been served with
24
     the Complaint nor Motion for Summary Judgment. The Zaycon Defendants
25
26
     assert that additional time is needed to engage in discovery related to the
27
28   “personal and advertising injury” coverage of the Policies and to respond to the
29
30   Motion for Summary Judgment is appropriate. (Decl. of Carl J. Oreskovich in
31
32   Supp. of Mot. for Fed. R. Civ. P. 56(d) Continuance (“Oreskovich Decl.”).)




       Response to Motion for Summary Judgment       ETTER, MCMAHON, LAMBERSON,
       and Motion for Fed. R. Civ. P. 56(d)          VAN WERT & ORESKOVICH, P.C.
       Continuance - Page 3                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                        SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26   filed 08/31/17      PageID.554 Page 4 of 20




1
          “Personal and advertising injury” is defined by the Policies as follows:
2
3                “Personal and advertising injury” means injury, including
4                consequential “bodily injury”, arising out of one or more
5                of the following offenses:
6
7                d. Oral or written publication, in any manner, of material
8
                 that slanders or libels a person or organization or
                 disparages a person’s or organization’s goods, products
9
                 or services.
10
11   (See ECF No. 18, Exhibit B at 95.)            The Zaycon Defendants assert that
12
13   reasonable inferences from the factual allegations or factual conclusions in the
14
15   Underlying Lawsuit infer claims of “personal and advertising injury” as defined
16
     in the Cincinnati Policies.
17
18
          In the Underlying Suit, Mr. Braddock goes to great lengths to demonstrate
19
20   his experience, pedigree, and reputation as former president and COO of
21
22   Citicorp, Citibank’s former CEO of Medco Containment Services, Inc.; a
23
24   former chairman of a private equity fund; and a former director of Marriot
25
     International. (See ECF No. 1, Ex. A.) He alleges that the adverse regulatory
26
27   history of Defendants Conrad and Kremin was not known to him. (Id.) Mr.
28
29   Braddock asserts that he injected capital, increased revenues, and arranged
30
31   outside equity investment through Vertical Group and Great Hill Partners. (Id.)
32
     Mr. Braddock alleges that the defendants communicated in writing with the



       Response to Motion for Summary Judgment       ETTER, MCMAHON, LAMBERSON,
       and Motion for Fed. R. Civ. P. 56(d)          VAN WERT & ORESKOVICH, P.C.
       Continuance - Page 4                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                        SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26   filed 08/31/17      PageID.555 Page 5 of 20




1
     outside investment groups to arrange investment without Mr. Braddock’s
2
3    employment and involvement. Mr. Braddock further asserts that the Zaycon
4
5    Defendants and others conspired to remove him from employment and from
6
7    participating in the outside financing after he “had put Zaycon on a trajectory to
8
     raise investment capital and to fulfill its potential in the first place[.]” (ECF No.
9
10   1, Ex. A at 17.) While no communications are specifically referenced in the
11
12   Complaint leading to Mr. Braddock’s removal from Zaycon leadership,
13
14   certainly such communications occurred “inducing certain Zaycon members to
15
16
     vote for Braddock’s removal.” (Id. at 19.)
17
          Defendants have reason to believe, and the Complaint certainly suggests,
18
19   that communications exist (and/or depositions will reveal) that communications
20
21   occurred between Zaycon and the individual defendants leading up to
22
23   Braddock’s removal from Zaycon leadership that will afford coverage under the
24
     “personal and advertising injury” portion of the Policies. (Oreskovich Decl. at
25
26
     ¶¶ 8-9.) Further, the Zaycon Defendants have identified at least one witness to
27
28   whom Mr. Braddock has reported that his business and investment reputation
29
30   was damaged due to statements made by certain Zaycon Defendants. (Id.) The
31
32   witness is currently unavailable for declaration or deposition. (Id.)




       Response to Motion for Summary Judgment       ETTER, MCMAHON, LAMBERSON,
       and Motion for Fed. R. Civ. P. 56(d)          VAN WERT & ORESKOVICH, P.C.
       Continuance - Page 5                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                        SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26   filed 08/31/17      PageID.556 Page 6 of 20




1
                                         MEMORANDUM
2
3            1. Summary Judgment is Premature Because Not All Necessary and
4               Indispensable Parties Have Been Joined.
5
          Under Fed. R. Civ. P. 19, a person who is subject to service of process and
6
7
     whose joinder will not deprive the court of subject-matter jurisdiction must be
8
9    joined as a party if (1) in the person's absence the court cannot accord complete
10
11   relief among the existing parties, or (2) the person claims an interest relating to
12
13   the subject of the action and is so situated that the disposition of the action in
14
     the person's absence may, as a practical matter, impair or impede the person's
15
16
     ability to protect that interest or leave any of the existing parties subject to a risk
17
18   of incurring multiple or inconsistent obligations because of the interest. See
19
20   Fed. R. Civ. P. 19(a).
21
22        It is well-settled that individuals in the position of Mr. Braddock are
23
     generally considered necessary and indispensable parties in a declaratory
24
25   judgment action brought to determine insurance coverage for the claim.
26
27   Greenwich Ins. Co. v. Rodgers, 729 F. Supp. 2d 1158, 1164–65 (C.D. Cal.
28
29   2010); Fed. Kemper Ins. Co. v. Rauscher, 807 F.2d 345, 354 n.5 (3d Cir.1986)
30
31
     (in a declaratory judgment proceeding involving an insurance policy, the
32
     injured person is an “indispensable part[y] to the action”); U.S. Fid. and Guar.



       Response to Motion for Summary Judgment       ETTER, MCMAHON, LAMBERSON,
       and Motion for Fed. R. Civ. P. 56(d)          VAN WERT & ORESKOVICH, P.C.
       Continuance - Page 6                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                        SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26   filed 08/31/17      PageID.557 Page 7 of 20




1
     Co. v. Ditoro, 206 F. Supp. 528, 532–33 (M.D. Pa. 1962) (the injured party is
2
3    “a necessary and proper party because the injured party has a material interest
4
5    in the outcome of the suit”); U.S. Fir. Ins. Co. v. The Milton Co., 938 F. Supp.
6
7    56, 57 (D. D.C. 1996) (“It is clear that an injured party is a necessary party in a
8
     declaratory judgment action brought to test the coverage of an insurance
9
10   policy.” (emphasis in original)); American Standard Ins. Co. of Wisconsin v.
11
12   Rogers, 123 F. Supp. 2d 461, 467-69 (S. D. Ind. 2000) (injured party
13
14   indispensable party to declaratory action regarding insurance policy coverage);
15
16
     Colony Ins. Co. v. Events Plus, Inc., 585 F. Supp. 2d 1148, 1156-57 (D. Ariz.
17
     2008) (same).
18
19        A decision in this case that coverage is precluded under the policies will
20
21   affect Mr. Braddock’s ability to recover damages should he prevail in the
22
23   Underlying Suit. Because Mr. Braddock has an interest relating to the subject
24
     of this suit and because his absence will, as a practical matter, impair his ability
25
26
     to protect that interest, Braddock is a necessary and indispensable party to this
27
28   action under Fed. R. Civ. P. 19. Therefore, in the absence of Mr. Braddock the
29
30   Court should not enter a judgment in this case and the instant motion should not
31
32   be heard until Mr. Braddock has appeared and been given the opportunity to




       Response to Motion for Summary Judgment       ETTER, MCMAHON, LAMBERSON,
       and Motion for Fed. R. Civ. P. 56(d)          VAN WERT & ORESKOVICH, P.C.
       Continuance - Page 7                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                        SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26   filed 08/31/17      PageID.558 Page 8 of 20




1
     respond. See W. Coast Expl. Co. v. McKay, 213 F.2d 582, 592 (D.C. Cir. 1954)
2
3    (“in the absence of [the necessary] parties a court of course cannot validly enter
4
5    a judgment”); see also Kimball v. Florida Bar, 537 F.2d 1305, 1307 (5th Cir.
6
7    1976) (“In the absence of an indispensable party, the federal courts are no more
8
     empowered to render a declaratory judgment than we would be to give
9
10   affirmative relief.”).
11
12             2. A Continuance is Appropriate Under Fed. R. Civ. P. 56(d) to Allow
13                Defendants Adequate Time to Engage in Discovery.
14
          Defendants request a continuance of the summary judgment hearing
15
16
     because additional discovery is essential to Defendants’ ability to adequately
17
18   respond to the Plaintiffs’ Motion for Summary Judgment. Fed. R. Civ. P. 56(d)
19
20   states:
21
22                (d) When Facts Are Unavailable to the Nonmovant.
                  If a nonmovant shows by affidavit or declaration that,
23
                  for specified reasons, it cannot present facts essential to
24
                  justify its opposition, the court may:
25                  (1) defer considering the motion or deny it;
26                  (2) allow time to obtain affidavits or declarations or to
27                  take discovery; or
28                  (3) issue any other appropriate order.
29
30
31
          The Rule “provides a device for litigants to avoid summary judgment when
32
     they have not had sufficient time to develop affirmative evidence.” United



       Response to Motion for Summary Judgment       ETTER, MCMAHON, LAMBERSON,
       and Motion for Fed. R. Civ. P. 56(d)          VAN WERT & ORESKOVICH, P.C.
       Continuance - Page 8                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                        SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26      filed 08/31/17      PageID.559 Page 9 of 20




1
     States v. Kitsap Physicians Serv., 314 F.3d 995, 1000 (9th Cir. 2002). A Rule
2
3    56(d) “continuance of a motion for summary judgment for purposes of
4
5    discovery should be granted almost as a matter of course unless the non-moving
6
7    party has not diligently pursued discovery of the evidence.” Burlington N. Santa
8
     Fe R.R. Co. v. The Assiniboine & Sioux Tribes of the Fort Peck Reservation,
9
10   323 F.3d 767, 773–74 (9th Cir. 2003) (internal citations omitted); see also
11
12   Metabolife Int’l, Inc. v. Wornick, 264 F.3d 832, 846 (9th Cir. 2001) (“Although
13
14   Rule 56(f) facially gives judges the discretion to disallow discovery when the
15
16
     non-moving party cannot yet submit evidence supporting its opposition, the
17
     Supreme Court has restated the rule as requiring, rather than merely permitting,
18
19   discovery ‘where the nonmoving party has not had the opportunity to discover
20
21   information that is essential to its opposition.’ Anderson v. Liberty Lobby, Inc.,
22
23   477 U.S. 242, 250 n.5 (1986).”)
24
         Here, discovery is necessary in order to adequately respond to Cincinnati’s
25
26
     Motion for Summary Judgment.                The claims asserted in the Underlying Suit
27
28   include claims against Zaycon and the individual defendants for violation of the
29
30   Securities Exchange Act, violation of the Washington Securities Act, fraud,
31
32   negligent misrepresentation, breach of fiduciary duty, and declaratory




       Response to Motion for Summary Judgment           ETTER, MCMAHON, LAMBERSON,
       and Motion for Fed. R. Civ. P. 56(d)              VAN WERT & ORESKOVICH, P.C.
       Continuance - Page 9                                   618 WEST RIVERSIDE AVENUE, SUITE 210
                                                           SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26    filed 08/31/17      PageID.560 Page 10 of 20




1
     judgment. (ECF No. 1, Ex. A at 24-48.) Some of the specific allegations
2
3    include:
4
5                 11. Braddock is the former president and chief
6                 operating officer of Citicorp and its principal subsidiary,
7                 Citibank, N.A.; former chairman and chief executive
8
                  officer of Priceline.com, which he had joined during its
                  startup phase, which he had taken public and which now
9
                  has a market capitalization in excess of $70 billion;
10                former chief executive officer of Medco Containment
11                Services, Inc., the largest prescription drug services
12                company, until its acquisition by Merck & Co., Inc. in
13                November 1993 for $6 billion; former chairman and
14                CEO of FreshDirect, a successful online grocer; former
15                principal of Clayton, Dubilier & Rice, Inc., a private
16
                  equity firm; former chairman of True North
                  Communications Inc.; former chairman of MidOcean
17
                  Partners, a private investment fund; and a former director
18
                  of Marriott International, Inc., Cadbury, PLC, Citibank,
19                N.A., Lotus software and several privately held
20                companies.
21
22                                                ***
23
24                12. During or about 2009, the Securities Division of the
                  State of Washington’s Department of Financial
25
                  Institutions (“DFI”) commenced an investigation of
26
                  Conrad and Kremin for their promotion and sale of
27                shares in a company by the name of IFT Holdings, Inc.,
28                f/k/a Intergrated Fuel Technologies, Inc. (“IFT”).
29
30                                                ***
31
32                15. DFI alleged inter alia that: (i) Conrad and Kremin
                  violated RCW 21.20.140, through their offer and/or sale



        Response to Motion for Summary Judgment         ETTER, MCMAHON, LAMBERSON,
        and Motion for Fed. R. Civ. P. 56(d)            VAN WERT & ORESKOVICH, P.C.
        Continuance - Page 10                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                          SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26    filed 08/31/17      PageID.561 Page 11 of 20




1
                  of securities for which there was no registration on file
2                 with the Washington State Securities division of DFI; (ii)
3                 Conrad and Kremin violated RCW 21.20.040 by offering
4                 or selling said securities while not registered as a
5                 salesperson or broker-dealer in the State of Washington;
6                 and (iii) Conrad and Kremin made misstatements of
7                 material fact, or omitted to state material facts necessary
8
                  in order to make the statement made, in light of the
                  circumstances under which they were made, not
9
                  misleading in violation of RCW 21.20.010.
10
11                                                ***
12
13                19. On or about January 27, 2010, DFI filed its Entry of
14                Findings of Fact and Conclusions of Law and Final Order
15                to Cease and Desist as to Kremin.
16
                                                  ***
17
18
                  20. The Final Orders required Conrad and Kremin to (i)
19                cease and desist from offering or selling securities in
20                violation of RCW 21.20.140, the securities registration
21                section of the Securities Act of Washington; (ii) cease
22                and desist from acting as unregistered securities broker-
23                dealer or salespersons in violation of RCW 21.20.040,
24                the broker-dealer and securities salesperson registration
                  section of the Securities Act of Washington; and (iii)
25
                  cease and desist from violating RCW 21.20.010, the anti-
26
                  fraud section of the Securities Act of Washington.
27
28                                                ***
29
30                49. In addition, during these meetings and telephone
31                conversations, each of the Individual Defendants, acting
32                on behalf of himself and Zaycon and the other individual
                  Defendants, failed to inform Braddock that a) DFI had



        Response to Motion for Summary Judgment         ETTER, MCMAHON, LAMBERSON,
        and Motion for Fed. R. Civ. P. 56(d)            VAN WERT & ORESKOVICH, P.C.
        Continuance - Page 11                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                          SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26    filed 08/31/17      PageID.562 Page 12 of 20




1
                  initiated an action against Conrad in 2009; b) DFI had
2                 issued a Cease and Desist Order as to Conrad in January
3                 2010; c) DFI had initiated an action against Kremin in
4                 2009; d) DFI had issued a Cease and Desist Order as to
5                 Kremin in January 2010.
6
7                                                 ***
8
                  82. Under Braddock’s leadership, and with the benefit of
9
                  the capital infusions received from Braddock, Zaycon’s
10                revenues grew from $16 million in 2014 to $25 million in
11                2015, with 2016 revenues projected at $73 million.
12
13                                                ***
14
15                84. Once Braddock had put Zaycon on firm footing, the
16
                  Company determined that the time was right to seek
                  either additional investment or the sale of the Company.
17
18
                                                  ***
19
20                85. During or about late 2015 or early 2016, Zaycon
21                retained Vertical Group (“Vertical”) to provide
22                investment banking services to the Company. Michael
23                Shwarts (“Shwarts”) was the Vertical investment banker
24                assigned to the engagement.
25
                                                  ***
26
27                86. During or about January 2016, Vertical and Shwarts
28                prepared an investor presentation for Zaycon featuring
29                Braddock as its CEO and Chairman of the Board and
30                highlighting his unique background and qualifications.
31
32                                                ***




        Response to Motion for Summary Judgment         ETTER, MCMAHON, LAMBERSON,
        and Motion for Fed. R. Civ. P. 56(d)            VAN WERT & ORESKOVICH, P.C.
        Continuance - Page 12                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                          SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26    filed 08/31/17      PageID.563 Page 13 of 20




1
                  87. Vertical’s investor presentation referred to Braddock
2                 as the “seasoned” leader of Zaycon’s management team,
3                 described him as an “experienced CEO in the e-
4                 commerce and food industries” and touted both his
5                 directly relevant experience as the former chairman and
6                 CEO of priceline.com and FreshDirect and his more
7                 general high level experience in business and finance,
8
                  including that gained as formed president and COO of
                  Citicorp and Citibank, N.A.
9
10                                                ***
11
12                88. In addition, the Vertical investor presentation noted
13                that Zaycon’s year to year sales growth during the years
14                2014 to 2016 (the years of Braddock’s involvement)
15                were 20.9%, 50.9% and 193.6% (projected), respectively.
16
                                                  ***
17
18
                  89. On or about April 14, 2016, a private equity firm
19                based in Boston, Massachusetts by the name of Great
20                Hill Partners (“Great Hill”) submitted a proposal to make
21                an investment of $25 million to buy into Zaycon at a pre-
22                money enterprise valuation of $30 million.
23
24                                                ***
25
                  90. The Great Hill proposal contemplated that $10
26
                  million would be used to buy equity from existing
27                members of Zaycon and that $15 million would be
28                invested directly into the Company.
29
30                                                ***
31
32                105. To that end, Defendants Maresca, Giunta, Conrad
                  and Kremin asked Vertical and Shwarts whether Great



        Response to Motion for Summary Judgment         ETTER, MCMAHON, LAMBERSON,
        and Motion for Fed. R. Civ. P. 56(d)            VAN WERT & ORESKOVICH, P.C.
        Continuance - Page 13                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                          SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26    filed 08/31/17      PageID.564 Page 14 of 20




1
                  Hill would complete the contemplated transaction even if
2                 they fired Braddock.
3
4                                                 ***
5
6                 109. Upon information and belief, in an attempt to get
7                 rid of Braddock and protect their investment banking
8
                  fees, and in the face of increasing division within the
                  Company, Vertical and Shwarts told Maresca, Giunta,
9
                  Conrad and Kremin that Zaycon could go ahead and fire
10                Braddock and remove him from his position as Co-
11                managing Member because Vertical an Shwarts could
12                close the Great Hill deal even without Braddock.
13
14                                                ***
15
16
                  111. As a result, although it had been Braddock’s
                  leadership and money which had put Zaycon on a
17
                  trajectory to raise investment capital and to fulfill its
18
                  potential in the first place, Defendants Zaycon, Maresca,
19                Giunta, Conrad and Kremin decided to immediately
20                terminate both Braddock’s employment and his status as
21                Co-managing Member of the Company.
22
23                                                ***
24
                  117. On April 21, 2016, without any advance notice or
25
                  warning of their intentions, Defendants Marcesa and
26
                  Giunta informed Braddock that the holders of at least
27                80% of the Class A membership units of Zaycon had
28                voted to remove him as a manager, and that he was being
29                terminated as an employee.
30
31                                                ***
32
                  123. Second, Defendants manipulated the voting



        Response to Motion for Summary Judgment         ETTER, MCMAHON, LAMBERSON,
        and Motion for Fed. R. Civ. P. 56(d)            VAN WERT & ORESKOVICH, P.C.
        Continuance - Page 14                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                          SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26    filed 08/31/17      PageID.565 Page 15 of 20




1
                  process that resulted in the execution of the Consent by
2                 fraudulently inducing certain Zaycon members to vote
3                 for Braddock’s removal, thereby improperly obtaining
4                 the 80% majority necessary to oust Braddck as
5                 Comanaging Member under the Operating Agreement.
6
7                                                 ***
8
                  158. Braddock brings this action to recover damages for
9
                  violations of the Securities Exchange Act of 1934, Rule
10                10b-5 promulgated thereunder, Washington State
11                securities laws, common law fraud, negligence, breach of
12                contract, breach of fiduciary duty, and aiding and
13                abetting breach of fiduciary duty in an amount to be
14                established at trial in excess of $6.5 million dollars, and
15                for a declaratory judgment that some or all of the
16
                  membership units issued to Conrad, Maresca and Kremin
                  and others void.
17
18
     (Id. at 3-24.)       Notably, Mr. Braddock is named as a defendant in the
19
20   Declaratory Action. (See ECF No. 1.) Yet he has not been served nor given the
21
22   opportunity to respond to Plaintiff Cincinnati’s Motion for Summary Judgment.
23
24   (ECF No. 16 at 22.) Mr. Braddock’s deposition as well as the deposition of the
25
     representatives of the investment banking companies, Vertical and Great Hill
26
27   Partners, are key to the ability to develop coverage for the specific statements or
28
29   publications relative to Mr. Braddock’s reputation and business expertise that
30
31   gave rise to his termination from employment and participation in the outside
32
     equity funding. Defendants have identified one witness who was a potential



        Response to Motion for Summary Judgment         ETTER, MCMAHON, LAMBERSON,
        and Motion for Fed. R. Civ. P. 56(d)            VAN WERT & ORESKOVICH, P.C.
        Continuance - Page 15                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                          SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26    filed 08/31/17      PageID.566 Page 16 of 20




1
     investor who attended an investment meeting with Mr. Braddock wherein Mr.
2
3    Braddock claimed that his business and personal reputation had been injured by
4
5    statements made by certain Zaycon Defendants. (Oreskovich Decl. at ¶¶ 8-9.)
6
7         As noted above, Cincinnati alleges that summary judgment should be
8
     granted because the Underlying Suit does not allege “bodily injury,” “property
9
10   damage” caused by an “occurrence,” or “personal and advertising injury” as
11
12   defined by the policies. However, “Washington law requires that the duty to
13
14   defend be analyzed in accordance with the allegations in the complaint in the
15
16
     underlying lawsuit.” Capitol Specialty Ins. V. Beach Eatery & Surf Bar, LLC,
17
     36 F. Supp.3d 1026, 1034 (E.D. Wash. 2014). “[T]he duty to defend arises
18
19   when a complaint against the insured, construed liberally, alleges fact which
20
21   could, if proven, impose liability upon the insured within the policy’s coverage.
22
23   The duty to defend…is based on the potential for liability.” Id. (internal
24
     citations omitted) (emphasis in original). If coverage is not clear from the face
25
26
     of the complaint but may exist, the insurer must investigate the claim and give
27
28   the insured the benefit of the doubt in determining whether the insurer has an
29
30   obligation to defend. See Ins. Co. of N. Am. v. Ins. Co. of Pa., 17 Wn. App. 331,
31
32   334, 562 P.2d 1004 (1977). Similarly, facts outside the complaint may be




        Response to Motion for Summary Judgment        ETTER, MCMAHON, LAMBERSON,
        and Motion for Fed. R. Civ. P. 56(d)           VAN WERT & ORESKOVICH, P.C.
        Continuance - Page 16                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                          SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26    filed 08/31/17      PageID.567 Page 17 of 20




1
     considered if the allegations of the complaint are ambiguous or inadequate. Atl.
2
3    Mut. Ins. Co. v. Roffe, Inc., 73 Wn. App. 858, 862, 872 P.2d 536 (1994). An
4
5    insurer has an obligation to give the rights of the insured the same consideration
6
7    that it gives to its own monetary interests. See Tank v. State Farm Fire & Cas.
8
     Co., 105 Wash.2d 381, 388, 715 P.2d 1133 (1986). “Put simply, an insurer may
9
10   not rely on facts extrinsic to the complaint in order to deny its duty to defend
11
12   where, as here, the complaint can be interpreted as triggering the duty to
13
14   defend.” Truck Ins. Exch. v. Vanport Homes, Inc., 147 Wn.2d 751, 761, 58 P.3d
15
16
     276 (2002).
17
          Defendants believe that evidence exists that would trigger coverage under
18
19   the “personal and advertising injury” provision of the policies. While the
20
21   Underlying Suit does not specifically state causes of action for libel, slander, or
22
23   publication of material damaging to one’s reputation, factual allegations
24
     contained in the Complaint and statements made by Mr. Braddock to third
25
26
     parties demonstrate that Braddock claims that Zaycon, and individual
27
28   defendants, communicated facts about him to shareholders to remove him as
29
30   manager and terminate his employment as CEO, thus causing damage to his
31
32   business reputation. (Oreskovich Decl.)




        Response to Motion for Summary Judgment        ETTER, MCMAHON, LAMBERSON,
        and Motion for Fed. R. Civ. P. 56(d)           VAN WERT & ORESKOVICH, P.C.
        Continuance - Page 17                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                          SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26    filed 08/31/17      PageID.568 Page 18 of 20




1
          As noted above, Cincinnati has the obligation to consider facts outside the
2
3    complaint when making coverage determinations; and to engage in
4
5    investigation giving Defendants the benefit of the doubt in determining whether
6
7    to defend. While the Complaint in the Underlying Suit does not specifically
8
     mention Braddock’s business reputation, it does affirmatively detail Braddock’s
9
10   experience and leadership and how Defendants used that good will to put
11
12   Zaycon on a trajectory to raise investment capital. It also describes that despite
13
14   Braddock’s good name, Zaycon shareholders were induced to throw him out of
15
16
     company leadership. Cincinnati has the obligation, under Washington law, to
17
     investigate facts outside of the Complaint that would warrant coverage under
18
19   the “personal or advertising injury” provision of the policy. Cincinnati has
20
21   failed to do so here.       Instead, Cincinnati seeks to abrogate this responsibility
22
23   and hastily proceed to Summary Judgment, before all parties are served.
24
          It is also important to note that this case is in its early stages. No discovery
25
26
     has occurred to date, and the scheduling order was only just issued on August
27
28   22, 2017. (ECF No. 24.) The discovery cut-off has been set for December 29,
29
30   2017. (Id.) Because this litigation is in its early stages, Defendants have “not
31
32   had the opportunity to discover information that is essential to [their]




        Response to Motion for Summary Judgment        ETTER, MCMAHON, LAMBERSON,
        and Motion for Fed. R. Civ. P. 56(d)           VAN WERT & ORESKOVICH, P.C.
        Continuance - Page 18                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                          SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26    filed 08/31/17      PageID.569 Page 19 of 20




1
     opposition.” Anderson, 477 U.S. at 250 n.5. In these circumstances, the Ninth
2
3    Circuit and the United States Supreme Court interpret Fed. R. Civ. P. 56(d) to
4
5    require additional discovery. See Metabolife Int'l, Inc., 264 F.3d at 846;
6
7    Anderson, 477 U.S. at 250 n. 5. Therefore, Defendants respectfully this Court
8
     exercise its discretion under Fed. R. Civ. P. 56(d) and continue the summary
9
10   judgment hearing date for 90 days to serve Mr. Braddock and allow time to
11
12   obtain affidavits or depositions to establish facts sufficient for continued
13
14   coverage. (See Oreskovich Decl. at ¶ 10.)
15
16
                                           CONCLUSION
17
          For the foregoing reasons, the Zaycon Defendants request the Court to
18
19   defer considering Cincinnati’s Motion for Summary Judgment.
20
21         DATED this 31st day of August, 2017.
22
23                                ETTER, McMAHON, LAMBERSON,
24                                VAN WERT & ORESKOVICH, P.C.
25
                                By: /s/ Carl J. Oreskovich
26
                                  CARL J. ORESKOVICH, WSBA #12779
27                                ETTER, McMAHON, LAMBERSON,
28                                VAN WERT & ORESKOVICH, P.C.
29                                 618 West Riverside Avenue, Suite 210
30                                 Spokane, WA 99201
31                                (509)747-9100
32                                Email: carl@ettermcmahon.com
                                  Attorneys for Zaycon Defendants



        Response to Motion for Summary Judgment        ETTER, MCMAHON, LAMBERSON,
        and Motion for Fed. R. Civ. P. 56(d)           VAN WERT & ORESKOVICH, P.C.
        Continuance - Page 19                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                          SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:17-cv-00140-SMJ         ECF No. 26    filed 08/31/17      PageID.570 Page 20 of 20




1
                                CERTIFICATE OF SERVICE
2
3         I hereby certify that on the 31st day of August, 2017, I electronically
4    filed the following documents:
5
6       RESPONSE TO MOTION FOR SUMMARY JUDGMENT AND
7         REQUEST FOR FED. R. CIV. P. 56(d) CONTINUANCE
8
     with the Clerk of the Court using the CM/ECF System, which will send
9
     notification of such filing to the following:
10
11   Gary Sparling
12   Soha & Lang, P.S.
13   1325 Fourth Avenue, Suite 200
14   Seattle, WA 98101
15   sparling@sohalang.com
16
17
                                  /s/Carl J. Oreskovich
18
19
20
21
22
23
24
25
26
27
28
29
30
31
32




        Response to Motion for Summary Judgment        ETTER, MCMAHON, LAMBERSON,
        and Motion for Fed. R. Civ. P. 56(d)           VAN WERT & ORESKOVICH, P.C.
        Continuance - Page 20                                618 WEST RIVERSIDE AVENUE, SUITE 210
                                                          SPOKANE, WASHINGTON 99201 (509) 747-9100
